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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

KENT EUBANK, JERRY DAVIS, RICKY
FALASCHETTI, RITA CICINELLI, ROBERT
JOSEPHBERG, JEFFREY ACTON, KENNETH
HECHTMAN, JAMES NEIMAN, AMY
CHASIN and EDWARD RUHNKE, individually
and on behalf of all others similarly situated;   No.: 06 C 4481

       Plaintiffs,                                Honorable Sharon Johnson Coleman

       v.                                         Class Action

PELLA CORPORATION, an Iowa corporation,
and PELLA WINDOWS AND DOORS, INC., a
Delaware corporation,

       Defendants.


    PLAINTIFFS’ MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFFS’
 UNCONTESTED MOTION FOR PRELIMINARY APPROVAL OF SETTLEMENT,
  CONDITIONAL CERTIFICATION OF SETTLEMENT CLASS, APPROVAL OF
NOTICE PLAN, APPOINTMENT OF NAMED PLAINTIFFS AS REPRESENTATIVES
 OF SETTLEMENT CLASS, APPOINTMENT OF CLASS COUNSEL AS COUNSEL
           FOR SETTLEMENT CLASS, AND RELATED RELIEF




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   Settlement Agreement……………………………………………………………….……Exhibit 1
   Declaration of Shannon McNulty……………………………………………………...…Exhibit 2
   Declaration of R. Clifford……………………………………………………………….. Exhibit 3
   Declaration of George Lang…………………………………………………………..… Exhibit 4
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        Plaintiffs, through undersigned counsel, submit this Memorandum of Law in support of

Plaintiffs’ Uncontested Motion for Preliminary Approval of Settlement, Conditional Certification

of Settlement Class, Approval of Notice Plan, Appointment of Named Plaintiffs as

Representatives of Settlement Class, Appointment of Class Counsel as Counsel for Settlement

Class, and Related Relief.           Attached as Exhibit 1 is the parties’ settlement agreement

(“Settlement Agreement” or “Settlement” or “SA”).

     I. INTRODUCTION

        In this class action, named Plaintiffs, Kent Eubank, Jerry Davis, Ricky Falaschetti, Rita

Cicinelli, Robert Josephberg, Jeffrey Acton, Kenneth Hetchman, James Neiman, Amy Chasin

and Edward Ruhnke (“Named Plaintiffs”),1 on behalf of themselves and others similarly situated

(“Plaintiffs”), sue Defendants, Pella Corporation and Pella Windows and Doors, Inc. (“Pella” or

“Defendants”), to recover damages that Plaintiffs suffered because of allegedly defective

windows that were designed, manufactured and placed in the stream of commerce by

Defendants. See Plaintiffs’ Seventh Amended Class Action Complaint (Doc. 540). As current

and former owners of homes and other structures containing these windows, Plaintiffs allege that

the windows suffer from water intrusion and rot, a defect that potentially also damages

surrounding building components and property. (Doc. 540). In 2009, the Court certified two

classes, (1) a Rule 23(b)(3) six-state consumer protection class comprised of consumers whose

Pella ProLine casement windows rotted and were replaced and who sought money damages, and

(2) a Rule 23(b)(2) nationwide class comprised of consumers whose windows had not been

replaced and who sought declaratory relief, Saltzman v. Pella Corp., 257 F.R.D. 471, 479 (N.D.


1
  Because of Named Plaintiff Leo Bateman’s lack of communication with the undersigned, the parties
contemporaneously file a joint stipulation for dismissal without prejudice of his claims in this action as a Named
Plaintiff under Fed. R. Civ. P. 41(a)(1)(A)(ii). See Plaintiffs’ Response in Opposition to Defendants’ Motion to



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Ill. 2009) (Doc. 163). In 2010, the Seventh Circuit affirmed, Pella Corp. v. Saltzman, 606 F.3d

391 (7th Cir. 2010) (Doc. 181).

          In 2012, the parties at that time reached a class settlement (Doc. 277), which was finally

approved by the Court over objections (Doc. 353). In 2014, the Seventh Circuit reversed that

settlement and the Court’s final approval of same, for, among other things, prior class counsel’s

improprieties, as well as deficiencies in the substantive terms of the settlement and in the claims

process, Eubank v. Pella Corp., 753 F.3d 718, 729 (7th Cir. 2014) (Doc. 412). On remand, and

from among a group of nine attorneys seeking appointment as class counsel, the Court appointed

Robert A. Clifford and George K. Lang as co-lead class counsel (Doc. 469). Following their

appointment, Messrs. Clifford and Lang assembled the undersigned team of attorneys (“Class

Counsel” or “Plaintiffs’ Counsel”). Because nothing more than limited discovery concerning

class certification occurred in the first phase of the case, current Class Counsel effectively started

fresh and with a tabula rasa.             Class counsel engaged Defendants in comprehensive and

document-intensive fact discovery, retained subject matter experts and engaged in expert

discovery, extensive motion practice and trial preparation.

         Class Counsel and their team of experts—informed by hundreds of thousands of

documents, numerous fact and 30(b)(6) and expert depositions and reports—delved deeply into

the relevant subjects of window design, building science, engineering, physics, wood

preservatives, window manufacturing processes and operations, industry standards, statistics,

warranty and claims analyses, and marketing issues, along with a whole host of cutting-edge

legal questions. Exhibit 2, Declaration of Shannon M. McNulty in Support of Plaintiffs’ Motion

for Preliminary Approval (“McNulty Dec.” at ¶¶ 6-19, 23-24). The discovery processes were


Dismiss and to Strike Class Allegations, (Doc. 547 at p.16, n.6).



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significantly adversarial and little ground was given or taken. Indeed not a single aspect of the

discovery process escaped scrutiny. (McNulty Dec. ¶¶ 6-19, 23-24). Plaintiffs amended the

operative complaint a number of times, surviving persistent dispositive motions based on

material issues including theories of liability, aspects an subtleties of varying state laws, class

definitions and nationwide or state law on which to base declaratory relief and trial plans (Docs.

482, 488, 492, 540). Plaintiffs successfully averted Defendants’ repeated attempts to dismiss and

to strike the class by filing the Seventh Amended Complaint (Doc. 540), which Defendants were

ordered to answer. Nevertheless, Defendants asserted affirmative defenses. (Doc. 560). The

Court first ordered that Plaintiffs’ Rule 23(b)(2) class could not be tried with the Plaintiffs’ Rule

23(b)(3) subclass claims and would have to be deferred. (Doc. 566, Hearing Tr., June 15, 2016).

Defendants then moved for summary judgment (Doc. 603), under sundry factual premises and

legal theories; having compiled a complete evidentiary record in support of their factual and

legal claims; Plaintiffs responded in opposition; Defendants replied. (Docs. 604, 612, 634, 635,

646). In anticipation of trial, the parties cross-filed and briefed Daubert motions regarding

testimony of ten expert witnesses.       (Docs. 617, 630, 637, 638, 640, 641, 642).          Having

undertaken substantial and exhaustive fact and expert discovery on complex subjects, Plaintiffs

prepared for trial scheduled to occur in October and November 2017. (Doc. 578).

       Given the nature of the two certified classes, and the Court’s decision to defer

consideration of the Rule 23(b)(2) class until after the Rule 23(b)(3) trials for the six subclasses,

the trial would not have concluded this dispute for the members of the classes. Instead, a

perfectly successful outcome of the Rule 23(b)(3) consumer protection class expressly would not

resolve the issues of (1) proximate cause, (2) actual damages, and (3) certain of Pella’s defenses

including statutes of limitations, issues which were expressly excluded by the order on class




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certification. See Saltzman, 606 F.3d at 393. Complete relief for the (b)(3) class members would

need to await numerous time consuming separate individual trials by each (b)(3) class member

on the non-certified issues of proximate cause, actual damages, and Pella’s defenses, all of which

would have been expensive and time consuming, and of course may have resulted in uncertain or

inconsistent results for class members. Exhibit 3, Declaration of Robert A. Clifford in Support

of Plaintiffs’ Motion for Preliminary Approval (“Clifford Dec.”) ¶¶ 7, 9. Further, even assuming

a perfectly successful outcome of the (b)(3) trial, and the subsequent (b)(2) declaratory relief

class (which would be tried in a separate proceeding after the trial on the six (b)(3) subclasses),

whose members had not yet replaced their windows, would not result in replacement of their

defective windows nor in payment of damages that would make them whole. (Clifford Dec. ¶

7). Instead, a successful trial outcome would arm these consumers with a series of declarations

that each class member could then use in expensive separate individual trials throughout the

country in an attempt to seek full relief. (Clifford Dec. ¶ 7). If every class member pursued this

course of action, the result would have been the filing of thousands of cases and trials, a process

that would likely take years to complete. (Clifford Dec. ¶¶ 7, 9).

       During the intensive discovery and motion practice, the notion of settlement was an

equally contested subject between the parties. (Doc. 582). In very late 2016, the Court referred

this action to United States Magistrate Judge M. David Weisman for discovery supervision and

settlement discussion. (Doc. 577). Consequently, starting in March 2017 and over the course of

several months, the parties participated in a number of in-person and telephonic settlement

conferences with Judge Weisman. (Clifford Dec. ¶ 8). During this same time, the parties were

engaged in mutual Daubert attacks. In May 2017, the settlement discussions had been exhausted

without any agreement between the parties. (Doc. 596). In July 2017, after the parties had filed




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expanded briefs concerning summary judgment and expert challenges, the parties re-engaged

Judge Weisman to supervise a settlement discussion. Finally, after months of negotiations

facilitated and supervised by Judge Weisman, Judge Weisman made a mediator’s

recommendation that was ultimately accepted by both parties. The parties reached a nationwide,

comprehensive settlement that affords concrete and comprehensive relief to consumers—

nationwide—for damages incurred in replacing allegedly defective Pella windows. (Clifford

Dec. ¶ 8).

       Attached as Exhibit 1 is the parties’ settlement agreement (“Settlement Agreement” or

“Settlement” or “SA”). This painstakingly procured class Settlement creates a total common

fund of $25,750,000 that will undeniably and materially deliver relief to consumers throughout

the country. (SA Section IV) As explained below, this total common fund of $25,750,000 is

comprised of (1) $23,750,000 (“Fund A”) to pay Settlement Class Members during the claims

period and (2) $2,000,000 (“Fund B”) to pay Settlement Class Members who file claims during

the extended claims period. (SA Section IV). Adding to the strength and value of the settlement

are Defendants’ agreement to pay separately for the class notice costs and expenses. (SA ¶

4.02). With the exception of using any unclaimed funds from the $23,750,000 in Fund A to

reimburse Defendants for the class notice costs and expenses, Fund A—which amounts to 92.2%

of the Settlement’s total common fund of $25,750,000—is expressly non-reversionary. (SA ¶

5.04 4.) Only unexpended amounts of Fund B ($2 million reserved for future claims) will revert

to Pella. Further, Defendants agree to pay separately Plaintiffs’ fees, costs, and expenses in an

amount—not to exceed $9,000,000—to be sought separately and, of course, subject to Court

approval. (SA Section VI). In short, over $34.75 million has been designated to finally resolve

this protracted litigation on a nationwide, comprehensive basis. (SA Sections IV, V, VI).




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       The Settlement provides a robust and targeted notice of substantial benefits that the

Settlement Class Members may obtain through an efficient claim process, utilizing a simple,

clear and straight-forward Claim Form. (Claim Form, SA Exhibit 1); (SA Exhibit 2). Once

approved, the Settlement creates a common fund or Settlement Fund of $25,750,000 to

compensate prior or current owners of Pella ProLine Casement Windows for damages that they

have incurred or will incur to replace or repair rotted Windows and other property—without the

need for individual trials. Those funds will be distributed to Settlement Class Members pursuant

to the terms of the Settlement Agreement. (SA, Section V).          Furthermore, the Settlement

Agreement requires Defendants to pay separately for the class notice costs and expenses. (SA ¶

4.02). Defendants further agree to pay, separately and independently from the Settlement Fund,

up to $9,000,000 in attorney fees, costs, and expenses.         (SA, Section VI).   Notably, the

Settlement Agreement’s attorneys’ fees, costs, and expenses provision is severable, permitting

distribution of the Settlement Fund and other benefits regardless of whether the Court grants, in

whole or in part, Class Counsel’s motion for an award of attorneys’ fees, cost and expenses. (SA

¶¶ 6.05). In exchange for these and other benefits, Settlement Class Members will provide

Defendants with a release. (SA, Section VIII).

       Plaintiffs request the Court to preliminarily approve the Settlement pursuant to Rule

23(e). Preliminary approval is a mechanism for the Court to ascertain whether there is any

reason to notify the Settlement Class Members of the proposed settlement and to proceed with a

fairness hearing after Settlement Class Members have been given an opportunity receive notice

of the settlement and its terms, to opt-out of the class, and to voice any objections to the

settlement. Gautreaux v. Pierce, 690 F.2d 616, 621 n.3 (7th Cir. 1982); see generally Manual

for Complex Litigation § 21.632, p. 513 (4th ed. Supp. 2013).




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          Without question, the proposed Settlement Agreement is a significant accomplishment in

light of the contested merits of Plaintiffs’ claims, Defendants’ defenses, and the factual,

evidentiary and legal risks of continued litigation through class trials, the likely appeal of any

verdict obtained in the class trial, and, quite importantly, the risk and expenses necessarily

attendant to the future individual trials on causation and damages for the (b)(3) class and future

expensive, and time consuming individual trials on at least causation and damages for the (b)(2)

class (Clifford Dec. ¶¶ 7, 9). The proposed Settlement Agreement meets the test for preliminary

approval. See Clifford Dec.; McNulty Dec.; Exhibit 4, Declaration of George K. Lang in

Support of Plaintiffs’ Motion for Preliminary Approval (“Lang Dec.”); Exhibit 5, Declaration of

John A. Yanchunis in Support of Plaintiffs’ Motion for Preliminary Approval (“Yanchunis

Dec.”).

          Thus, Plaintiffs, without opposition from Defendants, request the Court enter the parties’

agreed-upon Preliminary Approval Order attached as Exhibit 1 to Plaintiffs’ Uncontested Motion

for Preliminary Approval, filed concurrently with this memorandum.

   II. FACTUAL AND PROCEDURAL BACKGROUND

          As stated above, while the original complaint in this action was filed on August 18, 2006,

and two classes were certified on June 4, 2009, improprieties observed by the Seventh Circuit led

the Seventh Circuit to effectively clean the Plaintiff’s house in 2014, when the previous

settlement in this action was rejected on appeal, class counsel (other than George Lang) were

removed, former named plaintiffs were “defrocked,” and the case was remanded back to the

District Court. Writing for the Seventh Circuit, Judge Posner issued the following stinging

rebuke:

          After eight largely wasted years, much remains to be done in this case. For starters,
          Saltzman, Paul Weiss, and Weiss's firm, Complex Litigation Group, must be



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       replaced as class representative (Saltzman), and as class counsel (Weiss and his
       firm), respectively. And since we are rejecting the settlement agreement, the
       plaintiffs named in the third amended complaint, whom that agreement caused to be
       substituted for the original named plaintiffs (other than Saltzman), must be
       discharged and the four original named plaintiffs (whom we've called the
       "defrocked" plaintiffs) reinstated.

Eubank v. Pella Corp., 753 F.3d 718, 729 (7th Cir. 2014).

       From these ashes arose the case now before the Court. On September 12, 2014, Class

Counsel was appointed, and adversarial litigation commenced in earnest.          Class Counsel

Shannon McNulty’s Declaration delineates some, but certain not all, of the extraordinary efforts

made in this hotly contested litigation. In the few years since their appointment, and among

many other things, Class Counsel

      Served extensive written discovery, including exhaustive, specific and detailed

       Interrogatories, and Requests for Production of documents. (McNulty Dec. ¶¶ 10-14).

      Obtained hundreds of thousands of documents from a variety of sources, caused the same

       to be downloaded into a searchable document management system data base and, along

       with consulting and testifying experts, reviewed the same. (McNulty Dec. ¶ 13).

      Amended the operative complaint a number of times, responded to consequent defense

       motions to dismiss and to decertify almost each new iteration of the operative complaint,

       and caused Pella, despite aggressive, nuanced, and complex motion practice, to finally

       answer and assert affirmative defenses to the Seventh Amended Complaint. (McNulty

       Dec. ¶¶ 9, 20).

      Vetted and substituted an almost completely new slate of Named Plaintiffs (i.e.,

       substitute class representatives). (McNulty Dec. ¶ 8).

      Vetted and retained a completely new slate of expert witnesses, including a nationally

       recognized statistics and warranty analyst, a nationally recognized and accomplished and


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       one of the world’s foremost wood scientists. (McNulty Dec. ¶¶ 6, 7, 12, 14, 15, 16).

      Took or defended approximately 33 depositions, including fifteen 30(b)(6) depositions

       and ten expert depositions. (McNulty Dec. ¶ 15).

      Undertook significant motions practice including, but not limited to, the following:

          o Motion to Dismiss and to Strike Class Allegations (Doc. 498)

          o Motion to Dismiss and to Strike Class Allegations (Doc. 543)

          o Motion to Decertify (Doc. 507)

          o Motion to Clarify (Doc. 553)

          o Motion for Summary Judgment (Doc. 603)

          o Cross-Daubert Motions concerning the following experts:

                     Chin (Doc. 617) 

                     Saraf (Doc. 617) 

                     Schroter (Doc. 609)

                     Winandy (Doc. 600)

                     Middleswart (Doc. 617)

                     Gerdes (see Doc. 617 and related filings)

                     Ray (see Doc. 617 and related filings)

                     Smith (see Doc. 617 and related filings)

                     Wachs (see Doc. 606 and related filings)

       As a result of these efforts, Plaintiffs’ counsel developed facts they believed supported

Plaintiffs’ claims. (McNulty Dec. ¶ 23). Conversely, Defendants developed facts they believed

supported their defenses along with evidence and challenges to Plaintiffs’ experts that

Defendants believed would result in dismissal of Plaintiffs’ claims. In addition, the necessary




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and practical means of repair were explored and the costs to perform those repairs were

calculated.2

         Class Counsel began lengthy and difficult negotiations with Defendants’ counsel.

(Clifford Dec. ¶¶ 7,8). Eventually, after over a year of supervised settlement discussions,

including difficult written and oral discussions under the supervision and guidance of Judge

Weisman, the parties finally reached a hard-fought and reasonable compromise. (Clifford Dec.

¶¶ 7, 9, 10).

      III. SUMMARY OF PROPOSED CLASS SETTLEMENT

         The parties reached an agreement to settle this litigation that creates a $25,750,000

Settlement Fund against which Settlement Class Members may file a claim for Eligible Damage.

(SA ¶¶ 2.22, 4.01). The Settlement Fund is segregated into two funds that are designed to pay

claims based on the timing of those claims:                (1) $23,750,000 (“Fund A”) to pay Current

Claimants during the Claims Period and (2) $2,000,000 (“Fund B”) to pay Extended Period

Claimants who submit claims during the Extended Claims Period (the time period from the end

of the Claims Period until 15 years after the date of sale of a window). (SA Sections IV, V, VI).

With the exception of using any unclaimed funds from the $23,750,000 in Fund A to reimburse

Defendants for the class notice costs and expenses, Fund A—which is 92.2% of the Settlement

Fund—is expressly non-reversionary. (SA ¶ 5.04 1.) Any unexpended amounts of Fund B ($2

million reserved for future claims) will revert to Pella.               Defendants further agree to pay

separately and independently from the Settlement Fund, up to $9,000,000 for reimbursement of


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 Defendants strenuously dispute each and every allegation of impropriety, especially any claim they did anything
wrong or that any of their actions or omissions caused the damage about which Plaintiffs complain. (SA ¶ 15.01).
Defendants have presented their arguments and positions in an artful, organized and comprehensive manner. Each
witness has been fully and expertly cross-examined, with many blows landed on each side. (McNulty Dec. ¶ 19,
22). Underestimating the strength and potential of Defendants’ defenses at trial would be regrettable.



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Plaintiffs’ attorneys’ fees, costs, and expenses, to the extent awarded by the Court. (SA ¶ 4.02).

The attorneys’ fees, costs, and expenses provision of the Settlement Agreement is severable,

permitting distribution of benefits to Settlement Class Members regardless of whether the Court

grants, in whole or in part, Plaintiffs’ petition for fees, costs and expenses. (SA ¶ 6.05). In

exchange for these and other benefits, Settlement Class Members will provide Defendants with a

release. (SA ¶¶ 8.01-8.06). The parties agreed to the conditional certification of a Settlement

Class for purposes of the Settlement. (SA ¶¶ 3.01, 3.02).

       The key terms in the Settlement Agreement are:

       The Proposed Settlement Class: The Settlement Class comprises the following:

       [A]ll persons in the United States who are current or former owners of Structures
       containing Pella ProLine® brand aluminum clad wood casement, awning, and/or
       transom windows (including 250 and 450 Series) manufactured by Pella
       Corporation between January 1, 1991 and December 31, 2009.

(SA ¶ 2.46). The Settlement Class excludes: (1) All persons who timely opt-out of the Lawsuit

pursuant to the terms of the Settlement Agreement; (2) All persons who, individually or as a

member of a class, have brought legal proceedings against Defendants (other than in the Lawsuit

brought by the Named Plaintiffs), which, before entry of the Preliminary Approval Order in the

Lawsuit brought by Named Plaintiffs, are resolved or agreed to be resolved by settlement,

judgment, release, dismissal, or other final disposition resulting in the termination of the

proceedings; and (3) All of Defendants’ current employees. (SA ¶ 2.46(1-3)). The Settlement

Class is an opt-out class under Rule 23(b)(3). (SA Sections VII and VIII). Class status can be

objectively determined from individual and corporate records and self-identification via the

claims process and the Claim Form attached to the Settlement Agreement. (SA Section VII).

       Payments to the Settlement Class:       Pella will dedicate $25,750,000 for a common

Settlement Fund against which any Eligible Claimant may file a claim for Eligible Damage


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caused by a Window, allocated as follows:

       1.      Pella will deposit $23,750,000 into a fund (“Fund A”) reserved for payment of

claims for Eligible Damage submitted by Eligible Claimants during a Claims Period ending on a

Claims Deadline date to be set by the Court. (SA ¶ 4.04).

       2.      Pella will reserve $2,000,000.00 (“Fund B”) for payment of claims for Eligible

Damage submitted by Extended Period Claimants (that is, Settlement Class Members who have

not properly opted out of the Settlement and who submit Claims during the Extended Claims

Period for Eligible Damage up to 15 years after their Windows were purchased. (SA ¶ 2.38).

       In addition to the amounts paid into the Settlement Fund, Defendants will pay the Class

Notice Expenses, namely: the reasonable fees and expenses incurred by the Class Notice and

Settlement Administrator (“Settlement Administrator”) in preparing and mailing of the Class

Notice and for preparing and completing notice by publication. (SA ¶ 2.14). Finally, in addition

to the amounts paid into the Settlement Fund, Defendants will pay all amounts awarded by the

Court for Plaintiffs’ fees, costs, and expenses in an aggregate amount not to exceed $9,000,000.

(SA Section VI).

        Summary of Procedures to Seek Benefits: The parties have made every effort to

construct a simple and efficient claims process. Settlement Class Members who have already

repaired or replaced Eligible Damage are addressed separately from those who have not yet done

so. Both groups of Settlement Class Members may seek benefits by submitting a Claim Form to

the Settlement Administrator. (SA ¶ 5.05). In addition, Settlement Class Members who suffer

Eligible Damage that manifests after the Claims Period as explained further below, will still be

eligible for warranty benefits as well as certain other benefits. (SA ¶¶ 5.06, 5.07).

       The Claim Form (SA, Exhibit 1) is designed to assist Claimants applying for benefits to




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do so quickly, efficiently, and with reasonable ease. For example, the Claim Form contains clear

instructions on completing the form, including diagrams and pictures that visibly show the

location of stamps, etches and labels that easily identify qualifying Windows. Flexibility is

important. Thus, alternatively, Claimants may submit documentation establishing that their

windows qualify for benefits, such as a signed contractor statement. With respect to Eligible

Damage, the process and Claim Form provides the Claimants with as much flexibility as possible

to demonstrate the same.       For example, the Claimant may provide contemporaneous

documentation of wood deterioration damage to one or more windows or water damage to

surrounding property along with a contractor’s statement that such damage was caused,

materially or substantially in part, by water penetrating between the aluminum cladding of the

window and the window sash. Of course, other ways of establishing Eligible Damage are

available, including submitting photographs or providing documentation from a Pella or window

contractor.

       The Notice and Settlement Administrator (“Settlement Administrator”) will determine

whether the Settlement Class Member has Eligible Damage and must document its

determination. (SA ¶ 5.05).

       Summary of Benefits:

       Again, the Settlement establishes two settlement funds: Fund A for claims submitted

during the settlement Claims Period (i.e., before the Claims Deadline), and Fund B for claims

submitted after the settlement Claims Period (i.e., after the Claims Deadline and during the

Extended Claims Period).      (SA Sections IV and V).      The benefits of each Fund can be

summarized as follows.




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         Fund A Benefits and Payments:

         Settlement Fund A is designed to satisfy Claims for Eligible Damage that are filed before

the Claims Deadline. (SA ¶ 5.04). Depending on the time between the dates of sale and repair

of the subject Window, the cash award will be for all or a portion of the following four

categories of costs (1) the cost of the product (per window or sash), (2) the cost of the installation

labor (per window or sash), (3) the cost of finishing (per window or sash), and (4) the cost to

repair damage to other property.3 There are two basic types of Settlement Fund A claims:

         a.      Settlement Class Members who have already experienced Eligible Damage and

                 have already repaired or replaced such damage (SA ¶ 5.04);

         b.      Settlement Class Members who have experienced Eligible Damage but have yet

                 to repair or replace such damage (SA ¶ 5.04); and

         c.      Subject to the provisions of paragraphs 3 and 4 of Section 5.04 of the Settlement

                 Agreement, an Eligible Claimants’ recoveries from Fund A will depend on the

                 Date of Sale of their Windows.

         Claimants who have repaired or replaced Eligible Damage will receive a cash sum

based on (1) the cost of the product (per window or sash), (2) the cost of the installation labor

(per window or sash), (3) the cost of finishing (per window or sash), and (4) the cost to repair

damage to other property. (SA ¶ 5.04(1)). For Eligible Damage to or from a Window that was

repaired or replaced within 15 years after the Date of Sale, “the cash award will be the sum of

these four categories of costs.” (SA ¶ 5.04(1)). For Eligible Damage to or from a Window that



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 For Eligible Damage to or from a Window that was repaired or replaced within 15 years after the Date of Sale, “the
cash award will be the sum of these four categories of costs.” (SA ¶ 5.04(1)). For Eligible Damage to or from a
Window that was repaired or replaced more than 15 years after the Date of Sale, “the cash award will be 25% of the
sum of these four categories of costs.” (SA ¶ 5.04(1), also ¶¶ 5.03(4) and 5.04(2)(c)).



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was repaired or replaced more than 15 years after the Date of Sale, “the cash award will be 25%

of the sum of the four categories of costs.” (SA ¶ 5.04(1), also ¶ 5.03(4)).

       In order to make the process run smoothly and fairly, the Parties have anticipated

circumstances where it is not possible or difficult for the Settlement Administrator to identify the

portions of Eligible Damage for which costs were incurred or need to be incurred. Thus, the

Settlement Agreement provides that if the Settlement Administrator is unable to identify and/or

verify how much of the submitted costs were incurred for replacement product, installation,

finishing, and/or damage to other property, respectively, based on the invoices, receipts, and/or

other repair documentation submitted, then based on Pella historical claim data the costs will be

allocated and payments made as follows:

       (i)     If the Eligible Damage was repaired within 10 years after the Date of Sale, then
               costs shall be deemed allocated as follows:

                                                             If damage to         If no damage to
                                                             other property       other property

               1.   cost of product:                                 39%             55%
               2.   cost of installation:                            23%             34%
               3.   cost of finishing:                               8%              11%
               4.   cost to repair damage
                    to other property:                               30%              0%

(SA ¶ 5.04(1)(b)(i)).

       (ii)    If the Eligible Damage was repaired more than 10 years after the Date of Sale,
               then costs shall be deemed allocated as follows:

                                                             If damage to         If no damage to
                                                             other property       other property

               1.   cost of product:                                 27%             39%
               2.   cost of installation:                            33%             46%
               3.   cost of finishing:                               10%             15%
               4.   cost to repair damage
                    to other property:                               30%              0%




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(SA ¶ 5.04(1)(b)(ii)).

       Claimants who have not yet repaired Eligible Damage as of the Direct Notice Date

(the first notice sent out to potential Class Members) will receive either product or cash for

replacement product, depending on vintage, and cash benefits for (1) the cost of the installation

labor, (2) the cost of finishing, and (3) the cost to repair damage to other property. (SA ¶

5.04(2).)

       For Eligible Damage to or from a Window that has not yet been repaired or replaced and

involves a Window with a Date of Sale that is within 15 years before the Direct Class Notice

Date, and depending on the Date of Sale of the Window, Eligible Claimants will be entitled to

receive the actual costs of installation, finishing, and the repair of damage to other property,

together with either replacement product from Pella or additional cash for the cost of

replacement product. For Eligible Damage to or from a Window that has not yet been repaired

or replaced and involves a Window with a Date of Sale that is more than 15 years before the

Direct Class Notice Date, Eligible Claimants are entitled to receive 25% of actual expenses

necessary to repair or replace the four categories of costs. (SA ¶ 5.04(2)(c), also ¶ 5.03(4)).

       The Settlement Agreement again contemplates situations where it will be difficult or not

possible for the Settlement Administrator to determine how the actual costs to repair Eligible

Damage should be broken down among the categories covered under the Settlement Agreement.

If a Claimant submits a Claim for actual expenses necessary to repair or replace Eligible

Damage, but the Settlement Administrator is unable to identify and/or verify how much of those

costs are for the cost of replacement product, installation, finishing, and/or damage to other

property based on the quotes, invoices, receipts, and/or other repair documentation submitted,

then based on Pella historical claims data the costs will be allocated according to the following




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default percentages, and amounts may be awarded in each category:

        If the Eligible Damage involves a Window with a Date of Sale that is 10 years or less

before the Direct Class Notice Date, then the costs shall be deemed allocated as follows:

                                     If damage to           If no damage to
                                     other property         other property

        cost of product:                     39%                     55%
        cost of installation:                23%                     34%
        cost of finishing:                    8%                     11%
        cost to repair damage
        to other property:                   30%                     0%

(SA ¶ 5.04(2)(e) (i).

        If the Eligible Damage involves a Window with a Date of Sale that is more than 10 years

before the Direct Class Notice Date, then costs shall be deemed allocated as follows:

                                     If damage to           If no damage to
                                     other property         other property

        cost of product:                     27%                     39%
        cost of installation:                33%                     46%
        cost of finishing:                   10%                     15%
        cost to repair damage
        to other property:                   30%                     0%

(SA ¶ 5.04 (2)( d)(ii).

        Fund B Benefits and Payments:

        Settlement Fund B provides benefits for Settlement Class Members with pre-2007

Windows that have not manifested any Eligible Damage before the Claim Deadline but may

manifest Eligible Damage within 15 years of the Date of Sale andduring the Extended Claim

Period (the time period from the end of the Claims Period). (SA ¶ 5.06). The benefits are

primarily based on the terms of the Limited Warranty and a program called the ProLine Service

Enhancement Program (“PSEP”). These claims will be administered directly by Pella. Thus,




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after the Claims Deadline, Claimants will contact the Pella Customer Service Department at

(888) 977-6387 in order to receive Fund B benefits under the Pella Limited Warranty and/or

PSEP. (SA ¶ 5.07).

       In addition, each Pella branch may choose to provide similar discounts on finishing and

installation services for customers in these situations. (SA ¶ 2.38).

       Contingency if Fund A is insufficient to pay Eligible Claimants:

       The Settlement Administrator will pay Claimants on the Claims Payment Date on a pro

rata basis up to the available amounts in Fund A in a manner to be determined by the Settlement

Administrator. (SA ¶ 5.04(3)).

       Contingency if unclaimed funds remain in Fund A after paying Eligible Claimants:

       To the extent that funds remain in Fund A after the Settlement Administrator has made

all payments to Eligible Claimants, the Settlement Administrator will distribute the unclaimed

funds as follows: First, to reimburse Defendants for the Class Notice Expenses; second, to

increase recovery on a pro rata basis of those Eligible Claimants whose claims were limited to

25% of actual expenditures necessary to address Eligible Damage; and, third, in a manner

directed by the Court upon petition by the parties. (SA ¶ 5.04(4)).

       Settlement Administration:

       The class settlement administration will be performed by Kurtzman Carson Consulting

LLC (“KCC”), a leading class action settlement administrator jointly selected and proposed by

the parties. (SA ¶ 7.01(11).) KCC’s responsibilities include, without limitation: (a) processing

submissions of claims under Fund A; (b) distributing payments and benefits to eligible

Settlement Class Members for Fund A; (c) processing exclusion or opt-out requests from

Settlement Class Members; (d) providing status reports about the claims process to the parties




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relating to Fund A; and (e) preparing tax returns for any settlement bank accounts. (SA ¶

7.01(11)).

       Notice Plan:

       As explained in more detail below, consistent with Rule 23 and due process, the Notice

Plan and related forms are designed to provide effective direct and indirect notice to the Class.

See generally Exhibit 2, Declaration and Notice Plan, SA ¶¶ 2.13, 2.33 and 5.05.           KCC

recommends a notice plan utilizing individual notice to all known Settlement Class Members,

paid notice in well-read and targeted consumer magazines and on a variety of websites, and the

distribution of a national press release. (Peak Dec. pp. 6-9.) KCC anticipates the Notice Plan

will reach approximately 80% of likely Settlement Class Members on average 2 times each.4

(SA Exhibit 2).

       The Notice Plan provides for dissemination of a postcard notice, a summary notice and a

long-form notice by mail or email to Settlement Class Members and by publication and website

outreach to Settlement Class Members. (SA Exhibit 2) and (SA ¶¶ 2.33, 5.05, 7.01(6)). The

Notice Plan includes publication of the Summary Notice in a manner best suited to reach

Settlement Class Members. (SA Exhibit 2) (Clifford Dec. ¶ 11), (Yanchunis Dec. ¶ 25). The

Notice Plan will inform Settlement Class Members of the pendency and status of the case, terms

of the Settlement, the benefits available to members under it, how the case and the Settlement

may affect their legal rights, important Settlement deadlines, instructions for objecting to the

Settlement or opting-out of the Class, and information concerning the date of the Final Approval

Hearing and how to find more information regarding the Settlement. (SA Exhibit 2); (SA ¶¶

2.33, 5.05, 7.01(6).) A toll-free telephone line and a website (www.pellawindowsettlement.com)




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will also be established to facilitate providing notice and information to, and access to same by,

Settlement Class Members. (SA ¶¶ 2.33, 5.05, 7.01(6).)

         To avoid confusion among Settlement Class Members who may have already submitted a

Claim under the previous settlement, which was rejected and set aside, the Long Form Notice

will contain an instruction similar to the following:

         Plaintiffs and Defendants agreed to settle this class action lawsuit in 2011, and the
         Court finally approved the class settlement in April 2013. You may have received
         notification of the class settlement, which then required you to submit forms
         whether you wanted to participate in the class settlement or whether you wanted
         to exclude yourself from the settlement. You may have submitted these forms,
         including claim forms, regarding the settlement. However, in June 2014, the class
         settlement was rejected and set aside on appeal. The decision on appeal nullified
         the settlement and prompted the case to proceed on. With the exception of
         attorney George K. Lang, the attorneys previously representing the class were
         also replaced. As a consequence, even if you made an election to exclude
         yourself from the prior, nullified settlement, you must make a new election as to
         this notice (if you still choose to request exclusion from the class). You are
         therefore free to exclude yourself from this proceeding a second time or, by doing
         nothing, be deemed to remain a class member.

(SA ¶ 2.33).

         Settlement Class Member releases:

         Upon final approval of the Settlement, all Settlement Class Members who do not opt-out

will release the Defendants and the related parties from all Released Claims, as that term is

defined in the Settlement Agreement. (SA Section VIII). This release broadly applies to all

damages related to the Pella ProLine Casement Windows, except for personal injury claims. Id.

         Service Awards for representatives of Settlement Class:

         The Settlement Agreement permits named Plaintiffs to seek, subject to Court approval,


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 The Federal Judicial Center’s (FJC) Judges’ Class Action Notice and Claims Process Checklist and Plain
Language Guide considers reasonable a 70-95% reach among class members. (SA Exhibit 2).



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Service Awards for each of the Named Plaintiffs in an amount not to exceed Twenty-Five

Thousand dollars ($25,000.00) per Named Plaintiff. (SA ¶ 6.04). Any Court-approved Service

Awards will be paid out of Fund A of the Settlement Fund. (SA ¶ 6.04). The receipt of a Service

Award is not in any way conditioned on a Named Plaintiff supporting this Agreement, and each

Named Plaintiff has agreed to enter into this Agreement even if the Court declines to award

Service Awards to the Named Plaintiffs. Class Counsel will file a motion for Service Awards to

Named Plaintiffs, along with the necessary supporting documentation and detail, pursuant to the

schedule set forth in the Preliminary Approval Order. (SA ¶¶ 6.02, 6.04). By agreement of the

parties, the Service Award provision in the Settlement Agreement is severable, i.e., a failure to

grant some or all of the requested Service Awards cannot be grounds for modification or

termination of the Agreement. (SA ¶ 6.04).

       Plaintiffs’ Attorneys’ Fees, Costs, and Expenses:

       Per the Settlement, Plaintiffs will move for an award of attorneys’ fees, costs and

expenses. Defendants agree to pay an aggregate amount not to exceed $9,000,000, for Plaintiffs’

attorneys’ fees, costs and expenses, subject to Court approval.         (SA ¶ 6.02).     No other

agreements exist between or among the parties as to payments to be made to Class Counsel or

Plaintiffs. (Clifford Dec. ¶ 8).   As with the Service Award, the parties have agreed that the

attorneys’ fees, costs, and expenses provision of the Settlement Agreement is severable, i.e., that

a failure to grant some or all of Class Counsel’s requested attorneys’ fees, costs, and expenses

cannot be grounds for modification or termination of the Settlement. (SA ¶ 6.04).

       Opt-out procedure and opportunity to object or intervene:

       Any member of the Settlement Class may request to be excluded from the Settlement

Class by sending the Settlement Administrator an appropriate, timely request for exclusion or




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opt-out before a date to be set by the Court. (SA ¶¶ 2.35, 7.01). Any request for exclusion or

opt-out must be exercised individually by a Settlement Class Member or by a Settlement Class

Member’s attorney. (SA ¶ 7.01). Any Settlement Class Member who does not properly submit a

timely, compliant written request for exclusion or opt-out from the Settlement Class will be

bound by all proceedings, orders, and judgments in the Lawsuit. (SA ¶ 7.01).

       Any Settlement Class Member who does not request exclusion from the Settlement Class

may seek to intervene in the Lawsuit or to object to object to the Settlement, to Class Counsel’s

motion for fees, costs, and expenses, and to Plaintiffs’ motion for Service Awards to Named

Plaintiffs. (SA ¶ 7.01). To be considered, an objector or intervener Settlement Class Member

must timely provide to the Settlement Administrator and file with the Court a statement of the

objection or motion to intervene. (SA ¶ 7.01). The statement must: be in writing with the case

caption and case number; contain the objector’s or putative intervener’s full name and current

address; declare that the objector or putative Settlement Class Member intervener currently

owns, or formerly owned, a Structure containing a Pella ProLine Casement Window(s); be

signed and dated by the objector; provide a statement of the objector’s or intervener’s specific

objections and the grounds and arguments regarding same. (SA ¶ 7.01). The submittal must

include all documents and other writings the objector wishes the Court to consider and describe

any and all evidence the objecting or intervening Settlement Class Member or governmental

entity may offer at the Final Approval Hearing and be filed with the Court and served on the

Settlement Administrator, Lead Class Counsel, and counsel for Defendants on or before a date

set by the Court that is no later than 120 Days from the entry date of the Preliminary Approval

Order. (SA ¶ 7.01). Any Settlement Class Member who objects or requests to intervene shall

make themselves available to be deposed by Class Counsel and counsel for Defendants in the




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county of the objector’s or putative intervener’s residence within thirty (30) Days of service of

his or her timely written objection or motion to intervene. (SA ¶ 7.01).

       Any objections or requests to intervene by a Settlement Class Member must be exercised

individually by a Settlement Class Member, except that such objections or requests may be

submitted by a Settlement Class Member’s attorney on an individual basis. (SA ¶ 7.01). Any

member of the Settlement Class or governmental entity that desires to appear in person at the

Final Approval Hearing must timely file and serve Lead Class Counsel and counsel for

Defendants a notice of appearance in the Lawsuit. (SA ¶ 7.01).

       Settlement termination:

       Unless the parties agree otherwise, the Settlement Agreement shall be terminated and

become null and void if: (1) the Court declines to conditionally certify the Settlement Class as

provided in the proposed Preliminary Approval Order; or (2) the Court materially alters any of

the terms of this Agreement (as determined by the Parties); or (3) the Court does not enter the

Preliminary Approval Order or the Final Approval Order in substantially the same form

submitted by the Parties. (SA ¶ 11.01). Defendants may elect to unilaterally rescind the

Agreement if at least 300 or more Settlement Class Members with verified Pella ProLine

Casement Windows request exclusion or opt out from the Settlement Class. (SA ¶ 11.02). If the

Agreement is terminated, then the parties’ legal positions would revert to and be the same as they

were immediately prior to execution of the Agreement, each party having the ability to exercise

its legal rights as if the Settlement Agreement had not been executed. (SA ¶ 11.03).

   IV. ARGUMENT

   A. The Guidelines for the Preliminary Approval of the Settlement

       “‘Federal courts naturally favor the settlement of class action litigation.’” In re: Sears,




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Roebuck & Co. Front-loading Washer Prod. Liab. Litig., No. 06 C 7023, 2016 WL 772785, at *6

(N.D. Ill. Feb. 29, 2016) (quoting Isby v. Bayh, 75 F.3d 1191, 1196 (7th Cir. 1996); see also

Armstrong v. Bd of Sch. Directors of the City of Milwaukee, 616 F.2d 305, 312 (7th Cir. 1980)

(“It is axiomatic that the federal courts look with great favor upon the voluntary resolution of

litigation through settlement.”).   Of course, Rule 23(e) requires judicial approval of class

settlements.   Specifically, the Court must preliminarily approve the proposed Settlement;

members of the Settlement Class must be given notice of the proposed Settlement; and a hearing

must be held, after which the Court must decide whether the proposed Settlement is fair,

reasonable, and adequate. See Kaufman v. Am. Express Travel-Related Servs. Co., 877 F.3d 276,

284-85 (7th Cir. 2017); Gautreaux v. Pierce, 690 F.2d 616, 621 n.3 (7th Cir. 1982); Manual for

Complex Litigation § 21.632, p. 513 (4th ed. Supp. 2013).

       At this juncture, when considering the instant motion, the Court should determine

whether the settlement is within the range of possible approval, i.e., within the range of what

might be found fair, reasonable, and adequate. In re AT&T Mobility Wireless Data Servs. Sales

Litig., 270 F.R.D. 330, 346 (N.D. Ill. 2010); see also Armstrong v. Bd. of Sch. Directors of the

City of Milwaukee, 616 F.2d 305, 314 (7th Cir. 1980), overruled on other grounds by Felzen v.

Andreas, 134 F.3d 873 (7th Cir. 1998). “District court review of a class action settlement

proposal is a two-step process.” Armstrong, 616 F.2d at 314. As the Seventh Circuit explains:

       The first step is a preliminary, pre-notification hearing to determine whether the
       proposed settlement is “within the range of possible approval.” This hearing is not
       a fairness hearing; its purpose, rather, is to ascertain whether there is any reason to
       notify the class members of the proposed settlement and to proceed with a
       fairness hearing. If the district court finds a settlement proposal “within the range
       of possible approval,” it then proceeds to the second step in the review process,
       the fairness hearing. Class members are notified of the proposed settlement and of
       the fairness hearing at which they and all interested parties have an opportunity to
       be heard.




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Id.

The Seventh Circuit has provided trial courts with direction on determining whether a settlement

is fair, reasonable, and adequate.

       In deciding whether to preliminarily approve a settlement, courts must consider:
       (1) the strength of plaintiffs’ case compared to the terms of the proposed
       settlement; (2) the likely complexity, length and expense of continued litigation;
       (3) the amount of opposition to settlement among effected parties; (4) the opinion
       of competent counsel; and (5) the stage of the proceedings and the amount of
       discovery completed.

In re AT&T Mobility Wireless, 270 F.R.D. at 346; see also Wong v Accretive Health, Inc., 773

F.3d 859 (7th Cir. 2014) (setting forth relevant factors for determining fairness of class action

settlement). The Court should recognize “that the first factor, the relative strength of the

plaintiffs’ case on the merits as compared to what the defendants offer by way of settlement, is

the most important consideration.” Isby, 75 F.3d at 1199; Synfuel Techs., Inc. v. DHL Express

(USA), Inc., 463 F.3d 646, 653 (7th Cir. 2006) (citing Isby, 75 F.3d at 1199). That said, a

settlement ought not be confused or conflated with a perfect trial win. The Court should

“consider the facts in the light most favorable to the settlement.” Isby, 75 F.3d at 1198-99.

Further, “[t]he essence of settlement is compromise . . . . Thus the parties to a settlement will not

be heard to complain that the relief afforded is substantially less than what they would have

received from a successful resolution after trial.” EEOC v. Hiram Walker & Sons, 768 F.2d 884,

889 (7th Cir. 1985). The Court should not reject a settlement “solely because [the settlement]

does not provide a complete victory to the plaintiffs.” Isby, 75 F.3d at 1200. As recently

encapsulated by the Seventh Circuit:

       Though we have elucidated several factors to guide a district court's analysis of
       whether a proposed settlement is fair, reasonable, and adequate, we have
       repeatedly stated that “[t]he ‘most important factor relevant to the fairness of a
       class action settlement’ is ... ‘the strength of plaintiff's case on the merits balanced
       against the amount offered in the settlement.’” Synfuel Techs., Inc., 463 F.3d at


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       653 (quoting In re Gen. Motors Corp. Engine Interchange Litig., 594 F.2d 1106,
       1132 (7th Cir. 1979)); accord Isby, 75 F.3d at 1199. In analyzing this factor, the
       district court should consider “the range of possible outcomes and ascrib[e] a
       probability to each point on the range.” Synfuel Techs., Inc., 463 F.3d at 653
       (alteration in original) (quoting Reynolds [v. Beneficial Nat’l Bank, 288 F.3d 277,
       285 (7th Cir. 2002)]. This requires acknowledgment of potential defenses and the
       risk of failure for the class. See Williams v. Rohm and Haas Pension Plan, 658
       F.3d 629, 634 (7th Cir. 2011). However, we have instructed the district courts “to
       refrain from resolving the merits of the controversy or making a precise
       determination of the parties' respective legal rights.” Isby, 75 F.3d at 1196–97
       (quoting E.E.O.C. v. Hiram Walker & Sons, Inc., 768 F.2d 884, 889 (7th Cir.
       1985)). We have also taught that the Synfuel/Reynolds evaluation of potential
       outcomes need not always be quantified, particularly where there are other
       reliable indications that the settlement reasonably reflects the relative merits of
       the case. See Wong v. Accretive Health, Inc., 773 F.3d 859, 864 (7th Cir. 2014).

Kaufman v. Am. Express Travel Related Servs. Co., 877 F.3d 276, 284–85 (7th Cir. 2017).

   B. The Settlement Agreement Satisfies the Criteria for Preliminary Approval

           1. The strength of the Settlement compares favorably to Plaintiffs’ case

       As stated above, a salient factor for the Court’s consideration at this preliminary approval

juncture is the strength of the Plaintiff’s case balanced against the benefits offered in the

Settlement. Isby, 75 F.3d at 1196-97; Synfuel Techs Inc., 463 F.3d at 653; Reynolds, 288 F.3d at

285; Kaufman, 877 F.3d 276, 284-85. This issue was consistently addressed in the parties’

settlement discussions supervised and facilitated by Judge Weisman (Clifford Dec. ¶ 8). Here,

the proposed Settlement before the Court is fair, reasonable, and adequate, and within the range

of possible approval. While Plaintiffs are proud of the long strides that they have accomplished

in this action since remand, having effectively started anew after reversal of the prior settlement

by the Seventh Circuit, and though Plaintiffs are confident about their trial posture, a complete

win at trial of the claims at issue does not end the dispute, and ultimate success is far from

certain. Each class member in each of the certified classes would still be required, individually,



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to later litigate proximate cause and damages. Undeniably, that cannot be accomplished without

marshalling experts to set forth evidence and opinions, as well as to rebut Pella’s defenses.

Consequently, despite the issues resolved by and the declarations emanating from trial here, the

subsequent, separate trials would still have been expert-driven, costly, time-consuming, and

uncertain. (Clifford Dec. ¶¶ 7, 9). In stark contrast, the Settlement affords concrete, measurable

relief to class members on a nationwide basis, and does so without need for individual trials on

proximate cause and damages or the inherent delay, cost, and uncertainty of such individual

trials. (Clifford Dec. ¶¶ 9-10).

       Under these unique but self-evident circumstances, and by applying the reduced “range

of possible approval” standard, the Court must grant Plaintiffs’ Uncontested Motion. Kaufman,

877 F.3d 276, 284-85.

           2. The complexity, length and expense of continued litigation favors settlement

       The second factor calls upon the Court to evaluate the action’s complexity, expense and

time required to conclude the matter. In this instance, this factor vigorously favors preliminary

approval. Simply put, this consumer-protection/product-defect hybrid class action is almost

certainly one of the more complex, expensive and lengthy litigations of its kind in the country.

Though certified under six states’ consumer fraud laws, the (b)(3) class must still demonstrate a

defect in the window. Not only are the legal issues unique, difficult and technical, the expert-

driven testimony is esoteric and encompasses some of the more complex scientific topics and

statistical analyses that may be encountered in trial practice. For example, the experts have

engaged in epic battles over statistical analyses of claims, returns and allowances; disputes over

adequate penetration and retention of various wood preservatives, proper design of drainage

when utilizing the rain screen and barrier principles, and much more. (McNulty Dec. ¶¶ 6, 7, 12,




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14-19, 23).

       And with complexity comes expense. When the new litigation team was appointed, all

facets of preparing this litigation for trial effectively commenced anew. Unable to rely on

previous experts and discovery, which was minimal but related to class certification, Plaintiffs’

trial team necessarily started from scratch. No former expert was utilized. Instead, Plaintiffs

gathered an expert teams necessary to address the issues in this type of case. With the guidance

of counsel, the experts conducted significant research, investigation, testing, document review

and more. Counsel took dozens of depositions across the country. In short, since appointment of

Lead Class Counsel, Plaintiffs’ Counsel has advanced over $1 million in costs alone. (McNulty

Dec. ¶ 21). Plaintiffs’ Counsel believes this amount will easily double, if not more, should the

litigation continue. (McNulty Dec. ¶ 21).

       Despite the fact that the litigation has moved swiftly since current counsel was appointed,

significant time has passed since the initial filing of this case. Even after an initial (b)(3) trial,

and assuming Plaintiffs prevail on all claims comprising the six certified states, years of further

litigation will necessarily follow in individual trials concerning causation and damages.

Moreover, depending on the outcome of the first trial, the court’s application of law relative to

entering the (b)(2) declarations sought is a nuanced matter for which relief is still incomplete.

With the prospect of the substantial, hard-fought results reached by the parties in the Settlement,

the interests of affected consumers are concrete, measurable and wide-ranging; the interests of

these consumers are clearly best-served by the Settlement. (Clifford Dec. ¶¶ 7-10); (McNulty

Dec. ¶ 24); (Lang Dec. ¶¶ 6-11); (Yanchunis Dec. ¶¶ 19-24).

              3. The opinion of competent counsel and the serious, informed, and non-
                  collusive negotiations

       “Federal Rule of Civil Procedure 23(e) requires court approval of any settlement that



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effects the dismissal of a class action. Before such a settlement may be approved, the district

court must determine that a class action settlement is fair, adequate, and reasonable, and not a

product of collusion.” Reynolds v. Beneficial Nat. Bank, 288 F.3d 277, 279 (7th Cir. 2002).

Plaintiffs’ trial team is led by Robert A. Clifford, a nationally recognized and respected trial

attorney. (Clifford Dec.). Mr. Clifford’s desire and willingness to try cases is well-established

and persisted throughout the litigation. Had the parties not reached a prospective settlement that

offered meaningful relief in a relatively short time frame, and for as many consumers as possible,

Mr. Clifford and Class Counsel would not have recommended settlement. (Clifford Dec. ¶ 6).

       Not only do Class Counsel steadfastly agree that the Settlement is beneficial and in the

best interest of the Settlement Class, the manner in which it was achieved lends the Settlement

additional, firm credence. Specifically, United States Magistrate Judge M. David Weisman

served as mediator in the Lawsuit. Judge Weisman’s efforts were extraordinary, diligent and

fair, ensuring the parties’ negotiations were at arms-length and in good faith.        Indeed the

settlement amount actually came to fruition at his recommendation and with his diligent

involvement as the Court-appointed mediator. (Clifford Dec at ¶¶ 7, 8, 9).

       A proposed Settlement is presumed to be fair and reasonable when it resulted from arm’s-

length negotiations. See Mars Steel v. Continental Ill. Nat’l Bank & Trust, 834 F. 2d 677, 681-

82 (7th Cir. 1987); Armstrong, 616 F.2d at 325; Class Plaintiffs v. City of Seattle, 955 F.2d 1268,

1276 (9th Cir. 1992); In re Lorazepam & Clorazepate Antitrust Litig., 205 F.R.D 369, 375-76

(D.D.C. 2002) (“A presumption of fairness, adequacy, and reasonableness may attach to a class

settlement reached in arms-length negotiations”) (internal quotation omitted); In re Holocaust

Victim Assets Litig., 105 F. Supp. 2d 139, 145-46 (E.D.N.Y. 2000) (in determining fairness, the

“consideration focuses on the negotiating process by which the settlement was reached”)




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(internal quotation omitted). The presumption certainly applies here.

            4. The stage of the proceedings and the amount of discovery completed

       The proposed settlement came after the case had been completely worked up for trial,

while numerous dispositive motions pended. In order to reach this stage, the parties engaged in

extensive written discovery, document production, depositions of numerous personnel and

employees of Defendants, depositions of Named Plaintiffs, disclosure of experts, expert written

discovery and document production, exchange of expert reports and rebuttal reports and sur-

rebuttal reports, depositions of experts and rebuttal experts, and in extensive procedural and

case-dispositive motions practice. The case’s lengthy docket report speaks for itself. Simply

put, this has been a heavy-weight fight, which took the Plaintiffs’ new legal team nearly three

years to prosecute. The facts, issues, strengths and weaknesses are known to all. Each parties’

counsel’s knowledge, informed by extensive discovery and motions practice, bodes well for

settlement approval. (McNulty Dec. ¶¶ 23, 24).

            5. The deficiencies in the previous settlement do not exist in the Settlement

       As the Court is well aware, a prior settlement was rejected by the Seventh Circuit. The

problems that plagued the previous tainted litigation were cured when current counsel was

appointed. The proposed settlement at issue now affirmatively and purposefully contains none

of those deficiencies. For example,

           a. Previous class counsel had improper motives and improper relationships and
              agreements with class representatives. Current class counsel would never tolerate
              anything of the sort, and none of same exists now.

           b. The previous settlement provided incentive awards only to class representatives
              who approved the settlement, thereby creating a conflict of interest. The
              Settlement has no such condition; indeed, as noted above the Service Award
              provision of the Settlement is severable and, regardless of whether and for what
              amount the Court ultimately grants Service Awards for each of the Named
              Plaintiffs, the Settlement persists.



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            c. In the previous settlement, four class representatives did not approve the
               settlement; they were consequently removed and replaced. Now, all class
               representatives approve of the settlement and no Settlement Class Members have
               indicated any objections to the Settlement.

            d. The Settlement allows Defendants to be reimbursed only for the Claims Notice
               Expenses—nothing else—from unclaimed funds from Fund A.

            e. The previous settlement’s valuation was deemed inflated and elusive by the
               Seventh Circuit. The current Settlement requires the deposit of $23,750,000 into
               Fund A and reservation of $2,000,000 for Fund B—clear numbers affording clear
               valuation, which translate into clear relief for the affected consumers.

            f. The Seventh Circuit found that the previous settlement had a complicated notice to
               settlement class members. The current proposed Notice Plan is modern, simple,
               robust and targeted.

            g. The proposed Settlement is clean and simple, requires no arbitrations, contains no
               caps per structure.

            h. The Seventh Circuit found that the previous Claim Form to be long, and
               confusing. The proposed Claim Form is simple, self-explanatory, clear and
               flexible, and designed and tailored by counsel for the parties for that very
               purpose.

       C.      Conditional Certification of the Settlement Class is Appropriate
            1. Rule 23 prerequisites for settlement-class certification are satisfied

       In 2009, the Court granted in part, and denied in part, plaintiffs’ motion for class

certification. (Doc. 163). To effectuate the Settlement at issue now, the Court must conditionally

certify a Settlement Class, which is different than the two classes certified in 2009 by Judge

Zagel (Doc. 169). Specifically, the Settlement Class comprises:

       All persons in the United States who are current or former owners of Structures

containing Pella ProLine® brand wood casement, awning, and/or transom windows (including

250 and 450 Series) manufactured by Pella Corporation between January 1, 1991 and December

31, 2009 (hereinafter “ProLine Casement Windows”). The Settlement Class excludes: (1) All




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persons who timely opt out of the Lawsuit pursuant to the terms of this Agreement; (2) All

persons who, individually or as a member of a class, have brought legal proceedings against

Defendants (other than in the Lawsuit brought by Named Plaintiffs), which, before entry of the

Preliminary Approval Order in the Lawsuit brought by Named Plaintiffs, are resolved or agreed

to be resolved by settlement, judgment, release, dismissal, or other final disposition resulting in

the termination of the proceedings; and (3) All of Defendants’ current employees. (SA ¶ 2.46).

         The proposed Settlement Class satisfies Rule 23’s requirements.5

         2.      Rule 23(a)

         Rule 23(a)(1)-(4) requires that any proposed class meet four (4) prerequisites:

numerosity, commonality, typicality and adequacy of representation. Here, each element is

satisfied.

                      a. Numerosity—Rule 23(a)(1)

         The Settlement Class Members are numerous, rendering permissive joinder

impracticable. “Although there is no ‘bright line’ test for numerosity, a class of forty is generally

sufficient.” McCabe v. Crawford & Co., 210 F.R.D. 631, 643 (N.D. Ill. 2002); see also Muro v.

Target Corp., No. 04 C 6267, 2005 WL 1405828, at *13 (N.D. Ill. July 15, 2005) (“Although

there is no ‘magic number’ for numerosity, ‘permissive joinder is usually deemed impracticable

where the class members number 40 or more.’”) (citation omitted). Supported by KCC’s Notice

Plan, which estimates 743,000 Settlement Class Members based on information provided by

Pella through Defendants’ Counsel, numerosity is clearly met. (SA Exhibit 2).




5
  While Defendants consent to conditional certification of the Settlement Class, Defendants continue to assert that
the 2009 certified classes fail to meet the requirements of Rule 23 for certification under Rule 23(b)(2) or (b)(3).
(SA ¶¶ 3.01, 15.02).



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                   b. Commonality—Rule 23(a)(2)

       Commonality asks whether class members share at least one common question of law or

fact. Barragan v. Evanger’s Dog & Cat Food Co., 259 F.R.D. 330, 334 (N.D. Ill. 2009). “A

common nucleus of operative fact is usually enough to satisfy the commonality requirement of

Rule 23(a)(2).” Keele v. Wexler, 149 F.3d 589, 594 (7th Cir. 1998). The element “does not

necessitate every class member’s factual or legal situation to be a carbon copy of those of the

named plaintiffs, so the ‘low commonality hurdle is easily surmounted.’” Kaufman v. American

Express Travel Related Servs. Co., 264 F.R.D. 438, 442 (N.D. Ill. 2009) (citation omitted).

       The Settlement Class satisfies the commonality requirement. The common nuclei of

operative facts that led to Judge Zagel’s 2009 class certification is far more developed now than

it was then. The factual and exert discovery and the hearty dispositive motions practice yielded

an evidentiary and legal evolution of the claims at issue—in Darwinesque fashion—to be tested,

modified, refined and readied. Further, based on expert work and analysis, the alleged damages

suffered by the Class are understood and have been addressed fairly in the Settlement.

(McNulty Dec. ¶¶ 6-7, 12, 14-19, 23).

                   c. Typicality—Rule 23(a)(3)

       The typicality requirement under Rule 23(a)(3) is “liberally construed” and easily

satisfied. Saltzman v. Pella Corp., 257 F.R.D. 471, 479 (N.D. Ill. 2009); see also Owner-

Operator Indep. Drivers Ass’n v. Allied Van Lines, Inc., 231 F.R.D. 280, 282 (N.D. Ill. 2005)

(typicality is a “low hurdle” requiring “neither complete coextensivity nor even substantial

identity of claims”). A plaintiff’s claim is typical “if it arises from the same event or practice or

course of conduct that gives rise to the same legal theory.” Rosario v. Livaditis, 963 F.2d 1013,

1018 (7th Cir. 1992) (quoting De La Fuente v. Stokely-Van Camp, Inc., 713 F.2d 225, 232 (7th




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Cir. 1983)).

       Again, the Settlement Class’ claims derive from the same overarching operative facts and

bases for relief. This element is satisfied.

                   d. Adequate representation—Rule 23(a)(4)

       Rule 23(a)(4) requires that the class representatives and class counsel “fairly and

adequately protect the interests of the class.” This element requires that the class representative

(1) has a “sufficient interest in the outcome to ensure vigorous advocacy” and (2) does “not have

interests that conflict with those of the class”; the element also requires that the class

representative’s lawyers be “qualified, experienced, and able to conduct the litigation.”

Holtzman v. Turza, No. 08 C 2014, 2009 WL 3334909, at *5 (N.D. Ill. Oct. 14, 2009), affirmed

on other grounds, 728 F.3d 682 (7th Cir. 2013); see also Rosario v. Livadtis, 963 F.2d 1013,

1018 (7th Cir. 1992) (“[W]e have not previously interpreted Rule 23(a)(3) to require all class

members suffer the same injury as the named class representative. Instead, we look to the

defendant’s conduct the plaintiff’s legal theory to satisfy Rule 23(a)(3).”) (citation omitted).

       “Thus, the adequacy requirement places only a “modest” burden on a class representative

to demonstrate ‘[a]n understanding of the basic facts underlying the claims, some general

knowledge, and a willingness and ability to participate in discovery.’” Murray v. E*Trade Fin.

Corp., 240 F.R.D. 392, 398 (N.D. Ill. 2006) (quoting and citing Cavin v. Home Loan Center,

Inc., 236 F.R.D. 287, 393-94 (N.D. Ill. 2006)).

       The Named Plaintiffs’ interests and claims are entirely consistent with those held by the

Settlement Class they represent. See In re AT&T Mobility Wireless Data Servs. Sales Litig., 270

F.R.D. 330, 343 (N.D. Ill. 2010). As indicated by each of their declarations, attached hereto as

“Composite Exhibit 6,” Named Plaintiffs fully understand and accept their charge as class



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representatives of staying informed about the progress of the case and of conferring with Class

Counsel regarding developments, including court filings and discovery and, of course, the

Settlement and its terms. Named Plaintiffs also fully understand and accept their charge as class

representatives of bringing suit on behalf of other people with similar concerns regarding the

Windows and of their duty to act to protect the interests of other class members. Id. Further,

since neither conflicting nor antagonistic claims exist among class members, there are no

conflicts of interest, let alone disqualifying ones. Rosario, 963 F.2d at 1018.

       Finally, Class Counsel are reputable and highly experienced litigators, having handled

numerous consumer protection, products liability, and other types of complex class actions. The

litigation in this case has been fierce, and Class Counsel have steadfastly held their ground and

prosecuted the claims with diligence and vigor. Plaintiffs and their attorneys have demonstrated

they are fully capable of litigating this case and that the interests of the Settlement Class have

been and will be fairly and adequately protected. (Clifford Dec. ¶ 10); (McNulty Dec. ¶¶ 22-24).

           3. Rule 23(b)(3)

       Once Rule 23(a) is satisfied, the Court must proceed to consider the predominance and

superiority requirements of Rule 23(b)(3), whether “questions of law or fact common to the class

predominate over any [individualized questions], and that a class action is superior to other

available methods for fairly and efficiently adjudicating the controversy.” Fed. R. Civ. P.

23(b)(3). Plaintiffs satisfy these requirements.

                   a. Common questions predominate

       The first part of Rule 23(b)(3) is satisfied when “common questions represent a

significant aspect of a case and . . . can be resolved for all members of a class in a single

adjudication.” Messner v. Northshore Univ. HealthSys., 669 F.3d 802, 815 (7th Cir. 2012)



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(quoting Charles Alan Wright & Arthur R. Miller, Federal Practice and Procedure § 1778 (3d

ed. 2011)). “‘Considerable overlap exists between the court’s determination of commonality and

a finding of predominance. A finding of commonality tends strongly to satisfy a finding of

predominance because, like commonality, predominance is found where there exists a common

nucleus of operative facts.’” Pella, 257 F.R.D. at 484 (quoting Fournigault v. Independence One

Mortgage Corp., 234 F.R.D. 641, 644 (N.D. Ill. 2006)).

       Here, common questions that would be decided on a class-wide basis have been certified,

and, as well, have since survived Defendants’ attempts to decertify those common questions.

Further, because conditional certification of a Settlement Class is sought here and there will be

no trial, the Court need not inquire whether the case, if tried, would present manageability

problems with individualized issues. Smith v. Sprint Communications Co., L.P., 37 F.3d 612,

614 (7th Cir. 2004) (quoting Amchem Prods., 521 U.S. at 591)).

                   b. A class action is the superior method for adjudicating this controversy

       The second Rule 23(b) element—superiority of class adjudication—is easily established

here. “A class action is the more efficient procedure for determining liability and damages in a

case such as this, involving a defect that may have imposed costs on tens of thousands of

consumers yet not a cost to any one of them large enough to justify the expense of an individual

suit.” Butler v. Sears, Roebuck and Co., 702 F.3d 359, 362 (7th Cir. 2012). Rule-makers

designed the class action device for a case like this: a large number of claims, in the thousands,

which would be uneconomical to pursue on an individual basis. As the Supreme Court stressed:

       The policy at the very core of the class action mechanism is to overcome the
       problem that small recoveries do not provide the incentive for any individual to
       bring a solo action prosecuting his or her rights. A class action solves this
       problem by aggregating the relatively paltry potential recoveries into something
       worth someone’s (usually an attorney’s) labor.



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Amchem Prods., 521 U.S. at 617 (quoting Mace v. Van Ru Credit Corp., 109 F.3d 338, 344 (7th

Cir. 1997)).

        In this case, the potential number of Settlement Class Members is far too numerous, and

the typical individual claim is too small for each individual Settlement Class Member to litigate

in a separate action. The class action device is the only viable vehicle by which the vast majority

of persons injured by Defendants’ allegedly wrongful conduct may obtain a remedy. A class

action is the appropriate and superior method for adjudication of these claims, and as such, Rule

23(b)(3) is satisfied.

                     c. The Proposed Notice Plan Should Be Approved

        Rule 23(e) requires the “best notice that is practicable under the circumstances.” Fed. R.

Civ. P. 23(e). Courts have consistently recognized that Rule 23(e) and due process do not

require that every class member receive actual notice, as long as the selected method will likely

apprise interested parties. Newberg on Class Actions § 11.53; Burns v. Elrod, 757 F.2d 151, 157

(7th Cir. 1985) (notice must be reasonably calculated to reach most interested parties); In re

Prudential Ins. Co. Sales Practices Litig., 177 F.R.D. 216, 234 (D.N.J. 1997) (due process does

not require perfection). The Notice Plan, discussed in further detail below, is consistent with

Rule 23 and Due Process. (See generally SA Exhibit 2, SA ¶¶ 2.13, 2.33 and 5.05).

        1. Proposed Notice Plan methods for providing notice meet criteria for approval

        As set forth in the Settlement Agreement, the Notice Plan, developed by KCC, LLC, a

well-respected notice and claims administrator, establishes a vigorous and informative

methodology for providing notice to the Class. See Exhibit 2, Peak Dec. pp. 6-9. KCC estimates

that the Class consists of approximately 743,000 members, located throughout the United States



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in urban and rural settings. (SA Exhibit 2.) Of those, mailing addresses are available for

approximately 370,000. (SA Exhibit 2.) Thus, the Notice Plan therefore affords much more

than direct mail.

           First, the Postcard Notice will be mailed to all known Settlement Class Members. Prior

to mailing, the names and addresses will be vetted and checked against the USPS National

change of Address database, certified via the Coding Accuracy Support System, and verified

through Delivery Point Validation. A reasonable re-mailing policy and additional research

through a third-party “look up service” will also be implemented. See Exhibit 2, Peak Dec. at ¶¶

18-19.

           Second, a Summary Notice will be published in three leading consumer publications

(Good Housekeeping, People and Reader’s Digest) with the goal of maximum exposure. These

publications were strategically targeted to provide for the best possible notice to the applicable

demographics of Settlement Class Members. See SA Exhibit 2.

           Third, using comScore data and based on other factors, KCC recommends purchasing

approximately 138 million internet “impressions”6 to be distributed over the Google Display

Network and Facebook over a period of 60 days. The online ads will include an embedded link

to the case website (www.pellawindowsettlement.com). See SA Exhibit 2.

           Fourth, an informational press release will be issued nationwide. See SA Exhibit 2.

           Fifth, a toll-free telephone line will be established to provide direct support for potential

Settlement Class Members to obtain additional information regarding the Settlement. The toll-

free number will be displayed in all printed notice materials. (SA ¶ 5.05).


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    “Impressions” are the total number of opportunities to be exposed to a media vehicle of vehicles containing



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        Sixth, a searchable case website (www.pellawindowsettlement.com) will be established

with detailed information regarding the Settlement, the notice and claims process, the Released

Claims, and all information relevant to preliminary and final approval. The website address will

be displayed in all printed notice materials and will be accessible through a hyperlink embedded

in the internet banner notices. (SA ¶ 7.01(6).)

        The Notice Plan, includes various components, including direct mail, internet banner

notices, and publication notice to known Settlement Class Members, and publication to unknown

Settlement Class Members, and satisfies the requirements of Rule 23. See, e.g., Mirfasihi v.

Fleet Mortg. Corp., 356 F.3d 781, 786 (7th Cir. 2004) (approving a notice for a nationwide class

that consisted of publication in one publication of national circulation and the posting of the

notice on a website set up by a settlement administrator); Kaufman, 264 F.R.D. at 446; In re

Kentucky Grilled Chicken Coupon Mktg. & Sales Pracs. Litig., 280 F.R.D. 362 (N.D. Ill. 2011)

(approving notice plan consisting of publication, internet advertising, maintained website

containing notice, targeted on-line advertising, and sponsored key-word search advertisements).

        2. Proposed Notice Plan contents meet criteria for approval

        “The contents of a Rule 23(e) notice are sufficient if they inform the class members of the

nature of the pending action, the general terms of settlement, that complete and detailed

information is available from the court files, and that any class member may appear and be heard

at the hearing.” AT&T Mobility, 270 F.R.D. at 351 (quoting 3 Newberg on Class Actions § 8.32

(4th ed. 2010)).

        The proposed Notice Plan satisfies the criteria. See generally SA Exhibit 2; SA ¶¶ 2.13,



notice.” SA Exhibit 2.



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2.33 and 5.05. The Notice Plan and related forms provide the Settlement Class with critical

information about Settlement terms in a concise and neutral way and explain how Settlement

Class Members’ payments will be calculated and the right to seek compensation; describe the

Settlement Fund; explain how Settlement Class Members may make an Opt-Out Request; inform

Settlement Class Members of the right to object; disclose Class Counsel’s intended fee, cost, and

expense application; disclose Class Counsel’s intended motion for Service Awards to Named

Plaintiffs, provide the upcoming deadlines and the date of the Final Approval Hearing; and state

how to get more information about the case, settlement, notice, or rights under the Settlement.

As such, the notices more than satisfy the requirements for Rule 23(e) and due process. Twigg v.

Sears, Roebuck & Co., 153 F.3d 1222, 1227 (11th Cir. 1998); see also Manual for Complex

Litigation (Fourth) § 21.312.

   V.    CONCLUSION

        Based upon the foregoing, and because the proposed Settlement is fair, reasonable, and

adequate, and falls within the range of what might ultimately be approved, Plaintiffs respectfully

request that the Court enter the Preliminary Approval Order attached as Exhibit 1 to Plaintiffs’

Uncontested Motion.

        DATED: February 8, 2018                     Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I certify that on February 8, 2018, a copy of the foregoing PLAINTIFFS’
MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFFS’ UNCONTESTED MOTION
FOR PRELIMINARY APPROVAL OF SETTLEMENT, CONDITIONAL CERTIFICATION
OF SETTLEMENT CLASS, APPROVAL OF NOTICE PLAN, APPOINTMENT OF NAMED
PLAINTIFFS AS REPRESENTATIVES OF SETTLEMENT CLASS, APPOINTMENT OF
CLASS COUNSEL AS COUNSEL FOR SETTLEMENT CLASS, AND RELATED RELIEF
was filed and served on all counsel of record via the Court’s CM/ECF electronic filing system.


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